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 1                             UNITED STATES DISTRICT COURT
 2                                       DISTRICT OF ARIZONA
 3
 4    Brian Mecinas; C.V., ex rel. Carolyn Vasko;         No. 2:19-cv-05547
      DNC Services Corp., d/b/a Democratic
 5    National Committee; DSCC; and Priorities
      USA,
 6
                           Plaintiffs,
 7
                             v.
 8
      Katie Hobbs, in her official capacity as the
 9    Arizona Secretary of State,

10                         Defendant.

11
12
                                  NOTICE OF STIPULATED DISMISSAL
13
            Pursuant to Fed. R. Civ. 41(a)(1)(A)(ii), Plaintiffs and Defendant hereby stipulate
14
     to the dismissal of this matter without prejudice.
15
16
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